                 IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA


KLOOSTERBOER
INTERNATIONAL FORWARDING,
LLC, et al.,

                 Plaintiffs,              Case No. 3:21-cv-00198-SLG

           v.

UNITED STATES OF AMERICA, et
al.,

                 Defendants.


UNITED STATES OF AMERICA, et
al.,

                 Counter Claimants,

           v.

KLOOSTERBOER, et al.,

                 Counter Defendants.


  ORDER RE STATUS REPORTS AND REQUEST FOR ADDITIONAL STAY

      The Court has reviewed Plaintiffs’ Status Report at Docket 212 and

Defendants’ Status Reports at Dockets 213 and 214. Upon due consideration, the

Court GRANTS Defendants’ request for an additional stay to complete the

settlement process in this matter. IT IS ORDERED that the stay of all deadlines in

this case is extended to January 4, 2024. Defendants shall file an updated report




       Case 3:21-cv-00198-SLG Document 215 Filed 12/07/23 Page 1 of 2
on the status of approval of the settlement agreement no later than January 4,

2024.

        DATED this 7th day of December, 2023, at Anchorage, Alaska.

                                                    /s/ Sharon L. Gleason
                                                    UNITED STATES DISTRICT JUDGE




Case No. 3:21-cv-00198-SLG, Kloosterboer, et al. v. U.S.A., et al.
Order re Status Reports and Request for Additional Stay
Page 2 of 2
         Case 3:21-cv-00198-SLG Document 215 Filed 12/07/23 Page 2 of 2
